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                                      #641



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AMERICA,

       Plaintiff,

v.

NICOLE M. BOWLINE, et al.,

       Defendants.                                        No. 04-CR-30029-DRH


                                     ORDER


HERNDON, District Judge:

             Now before the court is a Motion to Continue Sentencing Hearing filed

by defendant Nicole Bowline (Doc. 271). In support of her Motion, Bowline’s counsel

states that due to defendant Bowline’s agreement with the Government to cooperate

and provide testimony at the trial of Quawntay Adams, she wishes to continue her

sentencing hearing until after the conclusion of the Quawntay Adams trial. As the

Court has recently continued this trial until March 12, 2007, and has also granted

a continuance of sentencing hearing for another defendant with similar

circumstances as defendant Bowline, she believes such continuance is necessary and

justified.

             Therefore, the Court GRANTS defendant Bowline’s Motion to Continue

Sentencing Hearing (Doc,. 271) and CONTINUES the sentencing hearing scheduled


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for September 22, 2006 to April 20, 2007 at 10:30 a.m.

           IT IS SO ORDERED.

           Signed this 19th day of September, 2006.

                                                  /s/        David RHerndon
                                                  United States District Judge




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